              Case 2:17-cr-00064-JAM Document 138 Filed 09/07/18 Page 1 of 2


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 AMANDA BECK
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-064 JAM
12                                Plaintiff,            STIPULATION REGARDING CONTINUING
                                                        BRIEFING AND HEARING SHCEDULE FOR
13                          v.                          DEFENDANTS’ MOTION TO SUPPRESS
14   RUTH KELLNER,                                      DATE: September 11, 2018
     RODNEY SHARP, and                                  TIME: 9:15 a.m.
15   GARY ROBERTS,                                      COURT: Hon. John A. Mendez
16                               Defendants.
17

18                                             STIPULATION

19          1.     Defendant Gary Roberts filed a motion to suppress on June 13, 2018. Dkt. #111.

20          2.     On June 26, 2018, defendant Ruth Kellner joined the motion to suppress. Dkt. #117. On

21 July 16, 2018, defendant Rodney Sharp also joined the motion. Dkt. #123.

22          3.     The defense has requested a hearing on September 11, 2018.

23          4.     By this stipulation, the parties now move to continue the hearing to September 25, 2018

24 at 9:15 a.m. In addition, the parties request that the government’s reply to the motion be submitted to

25 the court by September 11, 2018 and that the defense’s reply be submitted by September 18, 2018.

26          5.     This resetting of the current briefing and hearing schedule will allow the parties to

27 conduct necessary legal and factual research.

28          6.     Defendant Gary Roberts is out of custody. Dkt. #67. Defendant Ruth Keller was ordered


      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
             Case 2:17-cr-00064-JAM Document 138 Filed 09/07/18 Page 2 of 2


 1 detained pending trial on April 20, 2017. Dkt. #22. On September 18, 2017, defendant Rodney Sharp

 2 was ordered detained pending trial. Dkt. #77.

 3         7.     The parties’ next status conference is currently scheduled for November 6, 2018. Dkt.

 4 #136.

 5         IT IS SO STIPULATED.

 6

 7
     Dated: September 6, 2018                             MCGREGOR W. SCOTT
 8                                                        United States Attorney
 9                                                        /s/ AMANDA BECK
                                                          AMANDA BECK
10                                                        Assistant United States Attorney
11

12   Dated: September 6, 2018                             /s/ CHRIS COSCA
                                                          CHRIS COSCA
13                                                        Counsel for Defendant
                                                          RUTH KELLNER
14

15
     Dated: September 6, 2018                             /s/ HANNAH LABAREE
16                                                        HANNAH LABAREE
                                                          Counsel for Defendant
17                                                        RODNEY SHARP
18

19   Dated: September 6, 2018                             /s/ ETAN ZAITSU
                                                          ETAN ZAITSU
20                                                        Counsel for Defendant
                                                          GARY ROBERTS
21

22

23                                       FINDINGS AND ORDER
24         IT IS SO FOUND AND ORDERED this 6th day of September, 2018.
25
                                                         /s/ John A. Mendez
26                                                 THE HONORABLE JOHN A. MENDEZ
                                                   UNITED STATES DISTRICT COURT JUDGE
27

28

      STIPULATION REGARDING EXCLUDABLE TIME           2
      PERIODS UNDER SPEEDY TRIAL ACT
